UNITED STATES DISTRICT COURT

 

DISTRICT OF CONNECTICUT
Z.P. CIVIL ACTION NO.

PLAINTIFF : 3:19-cv-00315-DJS

YALE UNIVERSITY, YALE NEW HAVEN :

HOSPITAL, PETER SALOVEY, JONATHAN : JANUARY 27, 2020
HOLLOWAY, DR. LORRAINE SIGGINS,

JOHN DOES 1-3 and JANE DOES 1-3

DEFENDANTS

 

FORM 26(F) REPORT OF PARTIES’ PLANNING MEETING

Date Complaint Filed: | November 5, 2018 filed in USDC, New Jersey
November 13, 2019, Amended Complaint filed in USDC, Connecticut

Case Moved from New Jersey to Connecticut: February 27, 2019
Date Complaint Served: January 11, 2019
Date of Defendants' Appearance: January 30, 2019 in USDC in New Jersey and then transferred
to the USDC of Connecticut on February 25, 2019.
Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a conference was held
on January 22, 2020. The participants were:
Robert J. De Groot, Esquire, for plaintiff, Z.P.

Patrick M. Noonan, Esquire, for defendants, Yale University, Yale New Haven
Hospital, Peter Salvoey, Jonathan Holloway, Dr. Lorraine Siggins.
I.

CERTIFICATION

Undersigned counsel (after consultation with their clients) certify that (a) they have

discussed the nature and basis of the parties’ claims and defenses and any possibilities for achieving

a prompt settlement or other resolution of the case; and (b) they have developed the following

proposed case management plan. Counsel further certify that they have forwarded a copy of this

report to their clients.

IL.

U.S.C.

II.

JURISDICTION

A. Subject Matter Jurisdiction

This Court has subject matter jurisdiction over Plaintiff's federal law claims pursuant to 42
§12181 et. seq. 29 U.S.C. §794 and 42 U.S.C. §3604(f).

B. Personal Jurisdiction

Personal jurisdiction is not contested.

BRIEF DESCRIPTION OF CASE

A. Claims of Plaintiff:

On November 5, 2016, Z.P., a 21-year-old woman with a history of depression,
presented to Yale Health seeking a consultation with a mental health provider. She was
seen and sent to the Yale New Haven Hospital Emergency Department for further
evaluation. Per her outpatient Yale Health on-call provider, Dr. Peluso, the patient had
suicidal ideation and a Physician's Emergency Commitment [PEC] was issued.

The plaintiff was admitted to YNHH on November 5, 2016 and reported
experiencing symptoms of depression over the past semester, characterized by feeling
sad/down, increasing anxiety, social withdrawal, sense of hopelessness, and thoughts of

"not wanting to live like this." The patient was discharged on November 17, 2016. The
IV.

University then required that she take a medical leave and prioritize her self-care and
mental health treatment for the rest of the academic year, given her mental health condition.

After taking two summer courses, the plaintiff returned to Yale University in the
Fall of 2017, completing her course work at the end of 2017, six months after her planned
completion of courses. She is currently employed in Japan as a translator/teacher.

The plaintiff's complaint alleges the following causes of action: (1) violation of
§504 of the Rehabilitation Act of 1973; (2) violation of the Fair Housing Act; (3) breach
of confidential relationship; and (4) false imprisonment.

B. Defenses and Claims (Affirmative Defenses, Counterclaims, Third Party
Claims, Cross Claims) (either pled or anticipated) of Defendants:

Defendants deny all of the plaintiff's claims. When the PEC was issued, the plaintiff
was suffering from a major depressive disorder and she was actively suicidal, which
warranted hospitalization for safety, stabilization, close monitoring, diagnostic clarity and
after-care planning. During the course of her hospital admission, Yale University made the
decision to require that the plaintiff take a medical leave, because it was too dangerous for
her to remain on campus in her then current medical condition. The plaintiff thereafter
returned to campus, completed her degree and has now embarked on her work career.

C. Defenses and Claims of Third Party Defendants: N/A
STATEMENT OF UNDISPUTED FACTS

Counsel certify that they have made a good faith attempt to determine whether there are

any material facts that are not in dispute. The following material facts are undisputed:

1. In November, 2016, plaintiff was a senior at Yale University.
2. Defendant, Yale University, is an educational institution located in New

Haven, Connecticut.
Defendant, Peter Salovey, is an employee of defendant, Yale University, and
at the time of the incidents alleged in the complaint, was its President.
Defendant, Jonathan Holloway, was an employee of defendant, Yale
University, and at the time of the incidents alleged in the complaint, was the
Dean of Yale College.

Defendant, Dr. Lorraine Siggins, was an employee of defendant, Yale
University, and at the time of the incidents alleged in the complaint, was the
Director of Mental Health and Counseling at Yale Health.

On November 4, 2016, following the suicides of two Yale University
students and the decision of her only close friend to leave school because of
her emotional distress over the suicides, the plaintiff contemplated suicide.
According to medical records, she first counted out thirty Advil PM pills
before deciding that would not be sufficient to cause her death. According
to medical records, she next considered hanging herself from the light
fixture in her dorm room, but decided it would not be strong enough to hold
her. The next morning, she she went to visit her Chaplain, Reverend
Kathryn Greene-McCreight, who immediately brought her to Yale Health.
The Yale Health psychiatrist who evaluated her sent the plaintiff by
ambulance to the Yale-New Haven Hospital Emergency Department.
Although she agreed to be admitted to the hospital, the doctor who sent her
there issued a “physician’s emergency certificate,” for the following

reasons:
She was actively suicidal, with a plan, the night before; and she was
still suicidal when he evaluated her the next day.

She was living alone in her college dorm, with no supervision.
Although she had established a therapeutic relationship with a
mental health care professional and had been seeing that provider
for more than two months, the plaintiff did not consult with her
therapist when she was feeling actively suicidal. This meant that she
was “on her own” and she would not likely contact her therapist in
the future if she again developed active suicidal ideation with a plan.
The plaintiff reported feeling alienated from her peers, and her only
friend had just left school because of her own emotional distress
over the campus suicides. Therefore, staying in her college dorm,
when she had indicated that she was feeling isolated at Yale and
without friends, would be a dangerous place.

The treating psychiatrist felt it would be safer to have the plaintiff
stay with family where she could be monitored, instead of on a
college campus, where she had complete freedom of movement and
activity. In addition, the plaintiff indicated that she would likely go
to New York to live with her sister, with whom she had an excellent
relationship; therefore, the poor relationship with her father would

not be a reason to have her stay on campus.
Yale University made the decision to require that the plaintiff take a medical
leave, in the belief that it was too dangerous for her to remain on campus.
On November 11, 2016, the plaintiff appealed that decision. Jonathan
Holloway, the Dean of Yale College, denied the plaintiff's appeal. The
plaintiff was released from the hospital on November 17, 2016, but she was
not permitted to return to school at that time. The plaintiff returned to school
for the Fall 2017 semester, completed her studies at the conclusion of that

semester and was subsequently awarded her degree.

V. CASE MANAGEMENT PLAN

A. Initial Disclosures

The parties will exchange initial disclosures within four weeks.

B. Scheduling Conference

 

1. The parties request to be excused from holding a pretrial conference with
the Court before entry of a scheduling order pursuant to Fed. R. Civ. P.
16(b).

2. The parties prefer that a scheduling conference, if held, be conducted by
telephone.

Cc. Early Settlement Conference

1, The parties certify that they have considered the potential benefits of
attempting to settle the case before undertaking significant discovery or
motion practice. Settlement is unlikely at this time.

2. The parties do not request an early settlement conference.
If and when a settlement conference is held, the parties prefer a settlement
conference with a magistrate judge.
The parties do not request a referral for alternative dispute resolution pursuant

to D. Conn. L. Civ. R. 16.

D. Joinder Of Parties, Amendment Of Pleadings, And Motions Addressed To The
Pleadings

The parties have discussed any perceived defects in the pleadings and have reached

the following agreements for resolution of any issues related to the sufficiency of the

pleadings.

1,

Plaintiff(s) should be allowed until February 3, 2020 to file motions to join
additional parties and until March 2, 2020 to file motions to amend the
pleadings. Motions filed after the foregoing dates will require, in addition
to any other requirements under the applicable rules; a showing of good
cause for the delay.

Defendant(s) should be allowed until February 3, 2020 to file motions to
join additional parties and until March 2, 2020 to file a response to the
complaint, or any amended complaint. Motions filed after the foregoing
dates will require, in addition to any other requirements under the applicable

rules, a showing of good cause for the delay.
E. DISCOVERY
1. Recognizing that the precise contours of the case, including the amounts of
damages at issue, if any, may not be clear at this point in the case, in making the proposals
below concerning discovery, the parties have considered the scope of discovery permitted
under Fed. R. Civ. P. 26(b)(1). At this time, the parties wish to apprise the Court of the
following information regarding the “needs of the case”:
Plaintiffs Position: The Plaintiff resides in Japan. If possible, her deposition
should be taken electronically by skype.
Defendant’s Position (if different): The defendant needs to conduct
discovery on the issues of liability, past damages and future damages.
2. The parties anticipate that discovery will be needed on all claims alleged in
the Complaint and the issue of Plaintiff's damages.
3. All discovery, including depositions of expert witnesses pursuant to Fed. R.
Civ. P. 26(b)(4), will be commenced by January 27, 2020 and completed (not propounded)
by December 1, 2020.
4. Discovery will be conducted in phases, with expert disclosure to follow
depositions of fact witnesses.
5. A damages analysis will be provided by the plaintiff no later than April 1,
, 2020.
6. The parties anticipate that the plaintiff(s) will require a total of 4 depositions
of fact witnesses and that the defendant(s) will require a total of 6 depositions of fact
witnesses. The depositions will commence by March 2, 2020 and be completed by June 1,

2020.
7. The parties do not request permission to serve more than 25 interrogatories.

8. Plaintiff will designate all trial experts and provide opposing counsel with
reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) by July 1, 2020. Depositions
of any such experts will be completed by September 2, 2020.

9. Defendant will designate all trial experts and provide opposing counsel with
reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) by October 15, 2020.
Depositions of such experts will be completed by December 15, 2020.

10. | Undersigned counsel have discussed the disclosure and preservation of
electronically stored information, including, but not limited to, the form in which such data
shall be produced, search terms to be applied in connection with the retrieval and
production of such information, the location and format of electronically stored
information, appropriate steps to preserve electronically stored information, and the
allocation of costs of assembling and producing such information. The parties agree to the
following procedures for the preservation, disclosure and management of electronically
stored information:

a. Plaintiff shall take reasonable steps to retain, until the conclusion of
this lawsuit, all documents, as that term is defined in D. Conn. L.
Civ. R. 26, concerning or relating to the allegations of the
Complaint, that are in Plaintiffs possession, custody or control, for
the time period commencing two years prior to the filing of the
Complaint and continuing through and including the date of trial.

b. Defendant shall take reasonable steps to retain, until the conclusion

of this lawsuit, all documents, as that term is defined in D. Conn. L.
Civ. R. 26, concerning or relating to the allegations of the
Complaint, that are in Defendant’s possession, custody or control,
for the time period commencing two years prior to the filing of the

Complaint and continuing through and including the date of trial.

11. Undersigned counsel have discussed discovery procedures that minimize

the risk of waiver of privilege or work-product protection, including procedures for

asserting privilege claims after production. The parties agree to the following procedures

for asserting claims of privilege after production:

a.

If electronically stored information is produced in discovery and is
subject to a claim of privilege or of protection as trial preparation
material, the party making the claim may notify any party that
received the information of the claim and the basis for it. After being
notified, a party must promptly sequester the information and any
copies it has and may not use or disclose the information until the
claim is resolved. If the receiving party does not dispute the
producing party’s claim of privilege or work product, the receiving
party shall promptly return the information or destroy it. If the
receiving party disputes the privilege or work product claim, it may
promptly present the information to the Court under seal for a
determination of the claim, or the receiving party may inform the
producing party in writing that it disputes the claim. The producing
party may then promptly move the Court for an Order to return the

electronically stored information. If the receiving party disclosed the

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information before being notified, it must take reasonable steps to
retrieve it. The producing party must preserve the information until
the claim is resolved.
F. OTHER SCHEDULING ISSUES
Not applicable.
G. SUMMARY JUDGMENT MOTIONS
Summary judgment motions, which must comply with Local Rule 56, will be filed
on or before January 29, 2021.
H. Joint Trial Memorandum
The joint trial memorandum required by the Standing Order on Trial Memoranda
in Civil Cases will be filed within 45 days of the ruling on dispositive motions, should such
motions be filed, or within 45 days after the parties notify one another that dispositive
motions will not be filed.
VI. TRIAL READINESS
The case will be ready for trial within 30 days of the filing of a joint trial memorandum.
As officers of the Court, undersigned counsel agree to cooperate with each other and the Court to

promote the just, speedy and inexpensive determination of this action.

 

 

Plaintiff

/s/ Robert J. De Groot, Esq. 1/27/2020
By Date:

Robert J. De Groot, Esq.

Admitted Pro Hac Vice

60 Park Pl.

Newark, N.J. 07102
973-643-1930

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Defendant

/s/ Patrick M. Noonan, Esq. 1/27/2020

Date:

 

 

Patrick M. Noonan, Esq.

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